
13 N.Y.2d 816 (1963)
In the Matter of The Estate of Mary Herlihy, Deceased. Daniel J. Herlihy, Respondent; Emily N. Reynolds et al., Appellants.
Court of Appeals of the State of New York.
Argued June 4, 1963.
Decided July 10, 1963.
Daniel J. Madigan and George M. Aronwald for appellants.
Albert A. Du Pont, Stephen J. Masse, Francis J. Murphy and Philip A. Limpert for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, FOSTER and SCILEPPI.
Order affirmed, with costs to proponent-respondent payable out of the estate; no opinion.
